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                 Exhibit B
                    to Declaration of Nilay U. Vora




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    From:             Rodgers, Victor (USACAC)
    To:               Robert Frommer
    Cc:               Robert Johnson; Joe Gay; Kyndra Griffin
    Subject:          RE: Snitko discovery
    Date:             Monday, November 29, 2021 4:18:48 PM


    Robert,
    Thanks very much.

    Victor Rodgers
    Assistant United States Attorney
    Asset Forfeiture Section
    312 North Spring Street, 14th Floor
    Los Angeles, California 90012
    Phone 213.894.2569
    Fax 213.894.0142
    E-mail victor.rodgers@usdoj.gov



    From: Robert Frommer <rfrommer@ij.org>
    Sent: Monday, November 29, 2021 12:59 PM
    To: Rodgers, Victor (USACAC) <VRodgers@usa.doj.gov>
    Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin <KGriffin@ij.org>
    Subject: [EXTERNAL] RE: Snitko discovery

    Victor,

    In the spirit of cooperation, Plaintiffs are willing to give Defendants until January 7, the date you
    identified in your 2:56pm ET email below, to respond to the discovery requests.

    Best,
    Robert


    From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
    Sent: Monday, November 29, 2021 3:24 PM
    To: Robert Frommer <rfrommer@ij.org>
    Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin <KGriffin@ij.org>
    Subject: RE: Snitko discovery

    Robert,

    I am not sure it advances the ball to debate this. That is not what I said. Am I correct that the
    longest extension you will grant is 2 weeks, until December 22? I have to tell you your position is
    really not reasonable under the circumstances. I would like to avoid having to bother the Magistrate
    Discovery Judge with an application to extend a deadline that is routinely granted, particularly since
    we previously allowed you to serve pre-certification discovery when none was allowed. Can you let
    me know if two weeks is your bottom line or not. Thanks.

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    Victor Rodgers
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    From: Robert Frommer <rfrommer@ij.org>
    Sent: Monday, November 29, 2021 12:07 PM
    To: Rodgers, Victor (USACAC) <VRodgers@usa.doj.gov>
    Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin <KGriffin@ij.org>
    Subject: [EXTERNAL] RE: Snitko discovery

    Victor,

    Your latest email implies that the FBI employees are not already in the process of assembling the
    necessary documents. This is distressing given that Plaintiffs promulgated these requests on
    November 5, over three weeks ago, and I personally told you after the November 8 conference
    about the need for the parties to work expeditiously on discovery given the short timeframe.

    Robert


    From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
    Sent: Monday, November 29, 2021 2:56 PM
    To: Robert Frommer <rfrommer@ij.org>
    Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin <KGriffin@ij.org>
    Subject: RE: Snitko discovery

    Thanks, Robert

    I am not talking about my vacation time. I do not intend to take a vacation this year. I am
    referencing the FBI employees who must assemble the documents necessary to respond to the
    discovery. Can you please grant the government at least the customary 30 day extension that is
    always granted in federal cases? That would make the deadline January 7. Again, we are in the
    holiday season, so this is a good faith request I am making and, quite frankly, I routinely grant
    opposing counsel 30 day extensions to respond to discovery (and I have done so over the last two
    weeks in other cases). I really do not believe there is anything unreasonable about the request.
    Please let me know.

    Victor Rodgers
    Assistant United States Attorney
    Asset Forfeiture Section
    312 North Spring Street, 14th Floor
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    Los Angeles, California 90012
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    From: Robert Frommer <rfrommer@ij.org>
    Sent: Monday, November 29, 2021 11:49 AM
    To: Rodgers, Victor (USACAC) <VRodgers@usa.doj.gov>
    Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin <KGriffin@ij.org>
    Subject: [EXTERNAL] RE: Snitko discovery

    Victor,

    I understand your desire to use your vacation time before it expires, but making Plaintiffs wait until
    the middle of January before receiving Defendants’ objections and responses is untenable. That
    would be more than doubling the time Defendants have to answer Plaintiffs’ preliminary discovery
    requests. Given the short discovery window the Court has scheduled in this matter, such a delay
    would prejudice Plaintiffs’ ability to present the Court with a full and complete picture of
    Defendants’ actions on and before the events of March 22. That prejudice would only grow should
    Defendants raise objections to some or all of Plaintiffs’ requests that necessitate bringing a motion
    to compel. It was with that in mind that I proposed the compromise in my previous email.

    Given that that compromise is unworkable for Defendants, Plaintiffs are instead willing to provide
    Defendants with a two-week extension to respond to Plaintiffs’ requests. As your previous email
    correctly noted, the requests are currently due on December 8; Plaintiffs’ offered extension would
    make that date December 22.

    Best,
    Robert

    From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
    Sent: Monday, November 29, 2021 2:27 PM
    To: Robert Frommer <rfrommer@ij.org>
    Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin <KGriffin@ij.org>
    Subject: RE: Snitko discovery

    Robert,

    Thank you for your suggestion. However, I will not know what objections I will be asserting, until
    such time as I have all the documents I intend to produce and other information I have that is
    responsive and requires a substantive response to the interrogatories Accordingly, I do not typically
    assert objections, without this information, which is why I have asked for the little-over 30 day
    extension to respond to the discovery. Government employees have “use or lose” vacation time
    that makes it impossible for me to comply with the current deadlines. If you are willing to grant the
    extension I have requested, I will serve my responses via email, as that seems to have caused a

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    problem in the past. However, the extension I am requesting would not appear to me to be
    unreasonable in length, or unduly prejudice you in this matter. Please let me know. Thanks.

    Victor Rodgers
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    From: Robert Frommer <rfrommer@ij.org>
    Sent: Monday, November 29, 2021 11:05 AM
    To: Rodgers, Victor (USACAC) <VRodgers@usa.doj.gov>
    Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin <KGriffin@ij.org>
    Subject: [EXTERNAL] RE: Snitko discovery

    Victor,

    I understand your position, and think there is an appropriate compromise that can work for both
    parties. Plaintiffs would ask that Defendants stick by the December 8 due date in terms of providing
    to Plaintiffs any objections they might have regarding Plaintiffs’ discovery requests. This will allow
    Plaintiffs to quickly evaluate the strength of those objections and to immediately begin work on a
    Motion to Compel to the extent one is needed.

    To the extent that Defendants need time beyond December 8 to provide substantive responses to
    the interrogatories and to produce documents in response to Plaintiffs’ RFDs, we most likely can
    agree to such an extension. We would ask to tell us what documents will be produced and in what
    form (recalling that all documents produced should be in native electronic format or as searchable
    PDFs, should native format not be viable), and when Defendants can provide those responses and
    documents.

    Best,
    Robert


    From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
    Sent: Monday, November 29, 2021 1:32 PM
    To: Robert Frommer <rfrommer@ij.org>
    Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin <KGriffin@ij.org>
    Subject: RE: Snitko discovery

    Hello Robert:

    By my calculations, our response is actually due Wednesday, December 8, as the discovery was

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    served by mail and an additional three days are added when discovery were served by mail under
    Fed. R. Civ. P. 6(d)
    The government is merely asking for an approximate 30 day extension to respond to discovery,
    which is a common courtesy granted in all federal cases, regardless of whether the case is a class
    action case, and particularly with discovery requests served that require responses during the
    holiday season. While I certainly appreciate your willingness to grant a short 7 day extension, it is
    simply not enough, and sufficient available time will remain for you to complete discovery and work
    up your case. Can you at least grant an extension until sometime in early January, such as January
    10? I chose the January 14 date, because it was the day before the Martin Luther King Holiday.
    Please let me know. Thank you.

    Victor Rodgers
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    From: Robert Frommer <rfrommer@ij.org>
    Sent: Monday, November 29, 2021 9:50 AM
    To: Rodgers, Victor (USACAC) <VRodgers@usa.doj.gov>
    Cc: Robert Johnson <rjohnson@ij.org>; Joe Gay <jgay@ij.org>; Kyndra Griffin <KGriffin@ij.org>
    Subject: [EXTERNAL] RE: Snitko discovery

    Hello Victor,

    Yes, I did, and I hope that you did as well. I wanted to get back to you about your request for an
    extension. As you know, Plaintiffs sent these two sets of requests at the beginning of November,
    with responses due on December 6. Given this, I do not understand how the holidays would prevent
    a timely response to discovery issued in this major federal class action. Moreover, it is imperative
    the parties keep to the schedule that the Court laid out at the November 8 scheduling conference,
    given the Court’s reluctance to extend deadlines (as evidenced by its refusal to extend the time for
    class certification briefing).

    Given all of the above, Plaintiffs can provide Defendants with a one-week extension of the discovery
    deadlines, which would make both requests due on Monday, December 13. Please let me and my
    colleagues know if this works for Defendants.

    Best,
    Robert

    Robert Frommer
    Senior Attorney, Institute for Justice
    Director, IJ’s Project on the Fourth Amendment
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    901 North Glebe Road, Suite #900
    Arlington, VA 22203
    Tel: (703) 682-9320
    Email: rfrommer@ij.org




    From: Rodgers, Victor (USACAC) <Victor.Rodgers@usdoj.gov>
    Sent: Monday, November 29, 2021 11:01 AM
    To: Robert Frommer <rfrommer@ij.org>
    Subject: Snitko discovery

    Hello Robert:

    I hope you had a good Thanksgiving. I am writing about plaintiffs’ second set of interrogatories and
    second request for the production of documents. In light of the holidays and press of other
    business, it is not possible for the government to respond to the discovery by the current deadline.
    Accordingly, I am requesting an extension until January 14, 2021 to respond to that discovery.
    Please let me know whether the government can have the extension. Thank you.

    Victor Rodgers
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    Phone 213.894.2569
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